                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA


 In re: KRISTY ROGERS                          )
        ROBERT ROGERS                          )                       CASE NO. 22-81015
                                               )                       CHAPTER 7
        Debtor(s)                              )


       MOTION TO RECONSIDER ORDER GRANTING MOTION TO DISMISS CASE

        Now Comes the Debtors, KRISTY and ROBERT ROGERS, by and through the
 undersigned counsel, and moves this Court to reconsider its Order Granting the Trustee’s Motion
 to Dismiss Case and states as follows:

    1. The above referenced Debtor filed the underlying bankruptcy case on June 6, 2022.
    2. The Debtor submitted all necessary documents to file a complete and competent petition,
        however I, Franklin Posey acting as their legal counsel, failed to submit a portion of those
        documents required for a complete Ch. 7 bankruptcy petition.
    3. On June 21, 2022, the Trustee filed a Notice of Incorrect Event/Filing for failure to make
        the initial Ch. 7 payment.
    4. The Debtor responded by making the payment within two days.
    5. The Debtor has since been given notice of Dismissal by the Bankruptcy Court received
        on July 1, 2022 for failure to comply with the applicable Bankruptcy Rules in filing the
        case ie., failure to include pay devices.
    6. On July 1, 2022 counsel uploaded all pay devices sufficient to complete the Ch. 7
        petition.
            7. Counsel prays this court does not dismiss Mr. and Mrs. Roger’s Bankruptcy
        petition for the failings of their counsel and reconsider the Dismissal Order.



    WHEREFORE, movant prays for an Order setting aside the Order, along with such further
 and other relief as this court may deem proper.

        Respectfully submitted this the 5th day of July, 2022.

                                                                 /s/ Franklin D. Posey




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                                                             Franklin D. Posey
                                                             Attorney for Debtor(s)
                                                             309 E. Laurel St.
                                                             Scottsboro AL 35768
                                                             256-575-0500
                                                             fposeylawyer@gmail.com


                                   CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the foregoing motion on the following as
 noted below.

 This the 5th day of July, 2022.

                                                      /s/ Franklin D. Posey
                                                      Franklin D. Posey
                                                      Attorney at Law

 The following were notified via electronic filing…

 Trustee
 US Bankruptcy Administrator
 Clerk of Court

 The following were notified via U.S. Mail…

 1st Franklin Financial                               GM Financial
 24833 John T Reid Pkwy 3-B                           P.O.Box 181145
 Scottsboro, AL 35768                                 Arlington, TX 76096

 Cash Express                                         Hollowary Credit Solutions
 2605 S Broad St                                      P.O. Box 230609
 Scottsboro, AL 35768                                 Montgomery, AL 36123

 Convergent Outsourcing Inc.                          Jefferson Capital System
 800 SW 39th St. 100                                  16 McLeland Rd
 Renton, WA 98057                                     Saint Cloud, MN 56303

 Credit Central                                       Merchants ADJ Service
 700 E North St. 15                                   P.O. Box 7511
 Greenville, SC 29601                                 Mobile, AL 36670

 First Premier Bank                                   Radius Global Solutions LLC
 3820 N Louise Ave                                    7831 Glenroy Rd 250A
 Sioux Falls, SD 57107                                Minneapolis, MN 55439




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 RC/Resurgent Receivables                 TRS Recovery Services
 P.O. Box 1269                            P.O. Box 60022
 Greenville, SC 29602                     City of Industry, CA 91716

 Security Finance Corporation             Webbank/Fingerhut
 P.O. Box 3146                            13300 Pioneer Trail
 Spartanburg, SC 29304                    Eden Prairie, MN 55347

 Sun Loan Company                         Western Funding
 201 Veterans Dr. 105                     3915 E Patrick Lane
 Scottsboro, AL 35768                     Las Vegas, NV 89120




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